
PER CURIAM.
By petition for writ of certiorari, Jonathan Thomas seeks review of an order denying his motion for sentence modification. He contends that the circuit court applied the incorrect law in disposing of his motion, and the state acknowledges that certain language in the court’s order suggests that it treated petitioner’s motion as if it were seeking relief under Florida Rule of Criminal Procedure 3.800(a), rather than Florida Rule of Criminal Procedure 3.800(c). Accordingly, we quash the circuit court’s order denying petitioner’s motion for sentence modification and remand the matter for reconsideration of the motion on its merits.
ALLEN, WOLF and VAN NORTWICK, JJ., concur.
